Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 1 of 12




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  HELEN SWARTZ, Individually,                              :
                                                           :
                 Plaintiff,                                :
  vs.                                                      :
                                                           :   Case No.
  BCC HOTEL LLC,                                           :
  a Florida Limited Liability Company,                     :
                                                           :
              Defendant.                                   :
  _________________________________________/


                                           COMPLAINT
                                    (Injunctive Relief Demanded)

         Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other

  mobility impaired individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby

  sues the Defendant, BCC HOTEL LLC a Florida Limited Liability Company (sometimes referred

  to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

  pursuant to Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

                                              COUNT I

         1.      Plaintiff, Helen Swartz, is an individual residing in Miami Beach, FL, in the

  County of Miami-Dade.

         2.      Defendant’s property, a Hotel known as East Miami, is located at 788 Brickell

  Plaza, Miami,, FL, in the County of Miami-Dade.

         3.      Venue is properly located in the Southern District of Florida because venue lies in

  the judicial district of the property situs.    The Defendant’s property is located in and the

  Defendant does business within this judicial district.

         4.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

                                                   1
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 2 of 12




  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and §

  2202. The Court has supplemental jurisdiction over the State Law Claims, pursuant to 28

  U.S.C. 1367.

         5.      Plaintiff Helen Swartz is a Florida resident, is sui juris, and qualifies as an

  individual with disabilities as defined by the ADA.         Helen Swartz suffers from multiple

  sclerosis. She was diagnosed twenty years ago and as a result of losing her ability to ambulate,

  she uses a mobility scooter. Family and friends often visit her in the Miami area and she enjoys

  visiting with them at the various hotels in which they stay. Ms. Swartz sometimes stays in hotels

  with them to eliminate the need to return home late, as fatigue is a significant component of the

  disease. She and her husband also enjoy celebrating special events such as birthdays and

  anniversaries by enjoying hotel restaurants and spending the night to use spa amenities. Ms.

  Swartz’s granddaughter enjoys using the hotel pools when visiting Miami and Ms. Swartz enjoys

  treating her granddaughter to overnight stays in hotels in Miami.

         6.      Helen Swartz visited the property which forms the basis of this lawsuit from

  November 2 through November 3, 2020, and has reservations to return to the Hotel on June 23

  through June 24, 2021, with her granddaughter to relax, swim and shop in Brickell City Center.

  The Plaintiff also wishes to avail herself of the goods and services available at the property, and

  to assure herself that this property is in compliance with the ADA so that she and others similarly

  situated will have full and equal enjoyment of the property without fear of discrimination.

         7.      Defendant owns, leases, leases to, or operates a place of public accommodation as

  defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

  Defendant is responsible for complying with the obligations of the ADA. The place of public


                                                  2
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 3 of 12




  accommodation that the Defendant owns, operates, leases or leases to is known as East Miami,

  and is located at 788 Brickell Plaza, Miami,, FL.

         8.      Helen Swartz has a realistic, credible, existing and continuing threat of

  discrimination from the Defendant’s non-compliance with the ADA with respect to this property

  as described but not necessarily limited to the allegations in paragraph 10 of this Complaint.

  Plaintiff has reasonable grounds to believe that she will continue to be subjected to

  discrimination in violation of the ADA by the Defendant. Helen Swartz desires to visit East

  Miami, not only to avail herself of the goods and services available at the property, but to assure

  herself that this property is in compliance with the ADA so that she and others similarly situated

  will have full and equal enjoyment of the property without fear of discrimination.

         9.      The Defendant has discriminated against the individual Plaintiff by denying her

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

         10.     The Defendant has discriminated, and is continuing to discriminate, against the

  Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

  1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

  $500,000 or less). A preliminary inspection of East Miami has shown that violations exist.

  These violations that Helen Swartz has personally encountered or observed, and which were

  verified by an ADA expert, include, but are not limited to:

                 a.        The check-in desk is too high. This is in violation of section 227 of
         the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it
         difficult for the plaintiff to access the counter.


                b.        In guestroom #2601, which hotel deemed an accessible guestroom, a
         turning space is not provided in the guestroom. This is in violation of section 806.2.6 of


                                                    3
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 4 of 12




        the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it
        difficult for the plaintiff to access the all the areas in the guestroom such as the window
        controls.

                c.       In guestroom #2601, which hotel deemed an accessible guestroom, the
        closet rod and shelf are out of reach to a person in a wheelchair. This is in violation of
        section 811.3 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
        condition made it difficult the plaintiff to access the facility.

                 d.   In the accessible guestroom #2601, which hotel deemed an accessible
        guestroom, the light fixtures above the bed are out of reach to a person in a
        wheelchair. This is in violation of section 308 of the 2010 Standards for Accessible
        Design: 28 CFR §36.304. This condition made it difficult the plaintiff to access the
        facility.


                e.    In the accessible guestroom #2601, which hotel deemed an accessible
        guestroom, the window controls require tight grasping or pinching operate. This is in
        violation of section 309.4 of the 2010 Standards for Accessible Design: 28 CFR
        §36.304. This condition made it difficult the plaintiff to access the facility.

                f.        In guestroom #2601, which the hotel deemed an accessible guestroom,
        the window controls are out of reach to a person using a wheelchair. This is in
        violation of sections 308 and 806 of the 2010 Standards for Accessible Design: 28 CFR
        §36.304. This condition made it difficult the plaintiff to access the facility.

                 g.     In the accessible guestroom, #2601, the exterior space to enter or exit is
        not accessible. This is in violation of section 806.2.2 of the 2010 Standards for
        Accessible Design. §36.304. This conditioned denied the plaintiff to access the
        balcony, which is in violation of §36.201, §36.202 and §36.304 as this denied Plaintiff
        the full and equal opportunity to receive the same service as an abled individual.

                h.          In guestroom #2601, which hotel deemed an accessible guestroom, the
        storage drawers are not operable with one hand and require tight grasping, pinching, or
        twisting of the wrist to operate. This is in violation of sections 811.4 of the 2010
        Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult for
        the plaintiff to open the storage drawers.


              i.     In guestroom #2601, which hotel deemed an accessible guestroom, the
        shower spray unit in the roll-in shower does not have an on/off control with a



                                                 4
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 5 of 12




        non-positive shut-off. This is in violation of section 806.2.4 of the 2010 Standards for
        Accessible Design: 28 CFR §36.304. This condition made it difficult the plaintiff to
        access the facility.

                j.       In guestroom #2601, which hotel deemed an accessible guestroom, the
        shower unit in the accessible guestroom roll-in shower compartment is out of reach to a
        person in a wheelchair. This is in violation of section 806.2.4 of the 2010 Standards for
        Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
        access the shower unit.


                k.        In guestroom #2601, which hotel deemed an accessible guestroom, the
        pipe underneath the lavatory in the guestroom bathroom is exposed. This is in violation
        of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
        condition made it difficult for the plaintiff to access the facility.

                l.        In guestroom #2601, which hotel deemed an accessible guestroom, the
        mirror is too high. This is in violation of section 806.2.4 of the 2010 Standards for
        Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
        access the facility.

                m.        In guestroom #2601, which hotel deemed an accessible guestroom, the
        location of the water closet is not properly positioned. This is in violation of section
        806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
        made it difficult for the plaintiff to access the facility.


                 n.       In guestroom #2601, which hotel deemed an accessible guestroom,
        items in the guestroom and bathroom are out of reach to a person using a wheelchair.
        This is in violation of sections 308, 806 and 811 of the 2010 Standards for Accessible
        Design: 28 CFR §36.304. This condition made it difficult for the Plaintiff to use the
        facilities.

                o.       Accessible seating at the tables and bars around the hotel are not
        provided to a person using a wheelchair. This is in violation of sections 226 and 902 of
        the 2010 Standards for Accessible Design. This condition made difficult for the Plaintiff
        access the tables and bars; 28 CFR §36.201, §36.202, §36.304.

               p.       There are multiple seats and benches offered around the hotel. None of
        them are accessible to a person in a wheelchair. This is in violation of section 903 of
        the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it



                                                5
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 6 of 12




        difficult the plaintiff to access the facility.

                q.      A guest with a disability is denied the opportunity to participate in
        choosing one of the assorted sunbeds that are offered around the pool to the hotel’s
        abled guests. This is in violation of 28 CFR §36.201, §36.202 and §36.304. This denied
        Plaintiff the full and equal opportunity to receive the same service as an abled
        individual.

                r.        The entrance to the pool area has gate with hardware that is out of
        reach to a person in a wheelchair. This is in violation of sections 309.3 and 404.2.7 of
        the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it
        difficult to access the facility.

               s.         The entrance to the pool area has gate with hardware that requires tight
        grasping, pinching, or twisting of the wrist to operate. This is in violation of section
        309.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
        made it difficult to access the facility.

                t.          The pool shower has a fixed shower head that out of reach to a person
        in a wheelchair. This is in violation of section 608.6 of the 2010 Standards for
        Accessible Design. 28 CFR §36.304. This condition made it difficult for the Plaintiff to
        access the facility.

               u.         The stairway sign that points to the pool toilet rooms does not also
        provide directional signage to the accessible toilet room. This is in violation of section
        216.3 of the 2010 Standards for Accessible Design. 28 CFR §36.304. This condition
        made it difficult for the Plaintiff to locate the nearest accessible toilet.

                v.        The exterior stairways around the hotel do not have handrails. This is in
        violation of section 505 of the 2010 Standards for Accessible Design. 28 CFR §36.304.

                w.     In the hotel’s toilet rooms and inside the toilet compartments within the
        toilet rooms have pipes underneath the lavatories are exposed. This is in violation of
        section 606.5 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
        condition made it difficult the plaintiff to access the facility.

                x.          In the hotel’s toilet compartment, the toilet paper dispenser is too far
        from the water closet. This is in violation of section 604.7 of the 2010 Standards for
        Accessible Design: 28 CFR §36.304. This condition made it difficult the plaintiff to
        access the facility.


                                                     6
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 7 of 12




                 y.       The door opening force to enter/exit the hotel’s toilet room is too heavy.
         This is in violation of section 404.2.9. of the 2010 Standards for Accessible Design: 28
         CFR §36.304. This condition made it difficult the plaintiff to access the facility.

                 z.       In the hotel toilet room, the operable part on the accessible toilet
         compartment door is not operable with one hand and requires tight grasping, pinching,
         or twisting of the wrist. This is in violation of section 309.4. of the 2010 Standards for
         Accessible Design: 28 CFR §36.304. This condition made it difficult the plaintiff to
         access the facility.

                 aa.       Items in the Beast are out of reach to a person in a wheelchair. This is
         in violation of sections 308 and 309. of the 2010 Standards for Accessible Design: 28
         CFR §36.304. This condition made it difficult the plaintiff to access the facility.


                bb.      The hotel does not provide the required amount of compliant accessible
         guest rooms, and the accessible rooms are not dispersed among the various classes of
         accommodations. This is in violation of section 224 of the 2010 Standards
         for Accessible Design: 28 CFR §36.304. This denies to Plaintiff the full and equal
         opportunity to stay at the subject hotel. 28 CFR §36.302(e)(1)


                 cc.      The accessible features of the facility are not maintained, creating
         barriers to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211


         11.    All of the foregoing violations are also violations of the 1991 Americans with

  Disability Act Accessibility Guidelines, and the 2010 ADA Standards for Accessible Design

  (ADAAG), as promulgated by the U.S. Department of Justice.

         12.    The discriminatory violations described in paragraph 10 are not an exclusive list

  of the Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

  public accommodation in order to photograph and measure all of the discriminatory acts

  violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

  individuals similarly situated, have been denied access to, and have been denied the benefits of

  services, programs and activities of the Defendant’s buildings and its facilities, and have


                                                  7
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 8 of 12




  otherwise been discriminated against and damaged by the Defendant because of the Defendant’s

  ADA violations, as set forth above. The individual Plaintiff, and all others similarly situated,

  will continue to suffer such discrimination, injury and damage without the immediate relief

  provided by the ADA as requested herein. In order to remedy this discriminatory situation, the

  Plaintiff requires an inspection of the Defendant’s place of public accommodation in order to

  determine all of the areas of non-compliance with the Americans with Disabilities Act.

         13.     Defendant has discriminated against the individual by denying her access to full

  and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to

  afford all offered goods, services, facilities, privileges, advantages or accommodations to

  individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

  that no individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

         14.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

  Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

  warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

  Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

  litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

         15.     Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for its place of public


                                                   8
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 9 of 12




  accommodation that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,

  if there has been an alteration to Defendant’s place of public accommodation since January 26,

  1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered

  portions of the facility are readily accessible to and useable by individuals with disabilities,

  including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s

  facility is one which was designed and constructed for first occupancy subsequent to January 26,

  1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to

  and useable by individuals with disabilities as defined by the ADA.

         16.     Notice to Defendant is not required as a result of the Defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by

  Plaintiff or waived by the Defendant.

         17.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to require the Defendant to alter East Miami to

  make those facilities readily accessible to and useable by the Plaintiff and all other persons with

  disabilities as defined by the ADA; or by closing the facility until such time as the Defendant

  cures its violations of the ADA. The Order shall further require the Defendant to maintain the

  required assessable features on an ongoing basis, and to require the institution of a policy that

  requires Defendant to maintain its accessible features.

         18.     Prior to the filing of this lawsuit, Plaintiff’s counsel conducted a thorough PACER

  search to determine whether prior ADA cases had been filed in the Southern District of Florida

  against the instant property. Two unrelated ADA lawsuits had been filed, as follows:

                 a.     Flores v. BCC Hospitality Services, LLC, Case No. 1:18-cv-24740-PCH,


                                                   9
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 10 of 12




        was filed removed from state court on November 13, 2018.               This case relates to

        violations of the Fair Labor Standards Act and is totally unrelated to the ADA.

               b.      Patricia Kennedy v. BCC Hotel, LLC, Case No. 0:18-cv-60740-WPD, was

        filed on April 6, 2018. This case concerns violations of the website and reservations

        system and is unrelated to the instant case, which cites numerous violations unrelated to

        the website and reservations.


        WHEREFORE, Plaintiff respectfully requests:

               a.      The Court issue a Declaratory Judgment that determines that the

        Defendant at the commencement of the subject lawsuit is in violation of Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

               b.      Injunctive relief against the Defendant including an order to make all

        readily achievable alterations to the facility; or to make such facility readily accessible to

        and usable by individuals with disabilities to the extent required by the ADA; and to

        require the Defendant to make reasonable modifications in policies, practices or

        procedures, when such modifications are necessary to afford all offered goods, services,

        facilities, privileges, advantages or accommodations to individuals with disabilities; and

        by failing to take such steps that may be necessary to ensure that no individual with a

        disability is excluded, denied services, segregated or otherwise treated differently than

        other individuals.

               c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42

        U.S.C. § 12205.

        d.     Such other relief as the Court deems just and proper, and/or is allowable under




                                                  10
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 11 of 12




         Title III of the Americans with Disabilities Act.


                                                   COUNT II

                                                   Negligence

         18.     Plaintiff realleges all allegations heretofore set forth.

         19.     Defendant, through its activities and past ventures and experience, knew or

  reasonably should have known its duties to the impaired. Defendant had a duty to Plaintiff to

  remove ADA accessibility barriers, and adopt policies and procedures, as mandated by the ADA,

  so that Plaintiff, as a disabled individual would have full and equal access to the subject public

  accommodation.

         20.     Defendant breached this duty.

         21.     Defendant is or should be aware that, historically, society has tended to isolate

  and segregate individuals with disabilities, and, despite some improvements, such forms of

  discrimination against individuals with disabilities continue to be a serious and pervasive social

  problem.

         22.     Discrimination against individuals with disabilities persists in the use and

  enjoyment of public accommodations.

         23.     The Nation’s proper goals regarding individuals with disabilities are to assure

  equality of opportunity, full participation, independent living, and economic self-sufficiency for

  such individuals.

         24.     The ADA has been the law of the land since 1991, but Defendant has negligently

  denied Plaintiff her civil rights by maintaining architectural barriers that preclude the Plaintiff

  from the full and equal use of the subject premises, and that endangered and continues to



                                                    11
Case 1:20-cv-24618-RNS Document 1 Entered on FLSD Docket 11/10/2020 Page 12 of 12




  endanger Plaintiff’s safety. This negligent conduct of the Defendant has also caused Plaintiff

  damage by virtue of segregation, discrimination, relegation to second class citizen status and the

  pain, suffering and emotional damages inherent to discrimination and segregation and other

  damages to be proven at trial.


         WHEREFORE, Plaintiff prays for relief, as follows:

         A.      For finding of negligence; and

         B.     For damages in an amount to be proven at trial; and

         C.      For such other and further relief as the Court may deem just and proper.


  Dated: November 10, 2020                             Respectfully submitted,

                                                       /s/ Lawrence A. Fuller
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                                                  12
